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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

IN RE:                                             )        CASE NO. 09-92732-AKM
                                                   )
CYNTHIA CONLEY,                                    )
f/k/a CYNTHIA SPEED                                )        CHAPTER 7
                                                   )
              Debtor.                              )        JUDGE Andrea K. McCord
                                                   )


                            MOTION TO APPROVE SETTLEMENT

         Charity S. Bird, as Trustee (the “Trustee”), for her Motion to Approve Settlement (this

“Motion”), states as follows:

         1.      On July 31, 2009 the (the “Petition Date”), Cynthia Conley, f/k/a Cynthia Speed

(the “Debtor”) filed a voluntary petition for relief under Chapter 7 of Title 11 of the United States

Code (the “Bankruptcy Code”) in the United States Bankruptcy Court, Southern District of

Indiana, New Albany Division (this “Court”), initiating the above referenced bankruptcy case (the

“Bankruptcy Case”).

         2.      At all times relevant herein, the Trustee has been the duly appointed, qualified, and

acting Trustee of the bankruptcy estate (the “Bankruptcy Estate”).

         3.      The Trustee is administering, as an asset of this estate, a pending settlement (the

“Settlement”) with regard to a pre-petition personal injury claim (the “Personal Injury Lawsuit”).

         4.      On September 1, 2017, the Court entered an Order granting the Trustee’s request

to employ Bailey Peavy Bailey Cowan Heckaman (“BPB”) as special counsel to represent the

Trustee’s interest in the Debtor’s Claim.
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           5.    An offer to settle the Claim with the medical device manufacturer was made for

the gross sum of $12,000.00 (the “Settlement”), which the Trustee believes is a reasonable result

and has approved the Settlement.

           6.    The Trustee seeks authority to pay the following sums from the Settlement

proceeds:

                 A.   Special Counsel Fees (subject to Court approval):      $4,560.00
                 B.   Case Specific Litigation expenses:                     $1,649.98
                 C.   Court Ordered Federal MDL PSC Assessment               $600.00
                 D.   Common Benefit Assessment:                             $55.68
The aggregate settlement funds are currently held in a settlement trustee, which includes the funds

of the claim. The Trust had been approved as a Qualified Settlement Fund. The Trustee of the trust

(the “Settlement Fund Trustee”) has been approved to oversee the distribution of funds from the

trustee.

           7.    Upon the terms of the settlement being satisfied, the fees, costs and expenses set

forth above are withheld and/or paid to the appropriate recipients by the Settlement Fund Trustee,

and the Trustee and the Debtor executing the Release (defined below), the net remaining balance

of the settlement proceeds, in the anticipated amount of $5,134.34 (the “Net Proceeds”), shall be

distributed by the Settlement Funds Trustee to the Trustee.

           8.    The payments to the parties specified above are in full and final settlement of all

claims, including lien and subrogation claims to all parties.

           9.    After payments detailed above, the Estate will receive net proceeds in the sum of

$5,134.34.

           10.   The Trustee believes that the Settlement is in the best interest of the Bankruptcy

Estate.
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          WHEREFORE, the Trustee respectfully requests that the Court approve the Settlement as

described herein and authorize the Settlement Fund Trustee to make the following payments from

the settlement proceeds to be treated as a distribution on behalf of the Trustee or as a constructive

distribution under 11 U.S.C. § 326:

                A.   Special Counsel Fees (subject to Court approval):       $4,560.00
                B.    Case Specific Litigation expenses:                     $1,649.98
                C.    Court Ordered Federal MDL PSC Assessment               $600.00
                D.    Common Benefit Assessment:                             $55.68


          and pay to the Trustee the net amount of $5,134.34, and grant all other just and proper

relief.



                                                       Respectfully Submitted,

                                                       By: /s/ Charity S. Bird
                                                       Charity S. Bird, Trustee
                                                       P.O. Box 81
                                                       New Albany, IN 47151
                                                       Tel: (502) 540-8285
                                                       Fax: (502) 540-8282
                                                       Email: cbn@neukommtrustee.com
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                                    CERTIFICATE OF SERVICE
         I hereby certify that on October 9, 2019, a copy of the foregoing Motion to Approve Settlement
was (a) served electronically through the U.S. Bankruptcy Court’s ECF System to the electronic addresses
as set forth in the System, to the U.S. Trustee and all other persons receiving electronic notifications in
this case, and (b) mailed via first class U.S. mail to the following:



 Cynthia Conley                                       Quantum3 Group LLC as agent for
 1712 Driftwood Drive                                 MOMA Funding LLC
 Clarksville, IN 47129                                PO Box 788
                                                      Kirkland, WA 98083-0788
 Discover Bank
 Discover Bank Products Inc                           PYOD, LLC its successors and assigns as
 PO Box 3025                                          assignee of Cititbank, N.A.
 New Albany, OH 43054-3025                            Resurgent Capital Services
                                                      PO Box 19008
                                                      Greenville, SC 29602
 PYOD, LLC its successors and assigns as
 assignee of B-Line, LLC
 Resurgent Capital Services
 PO Box 19008
 Greenville, SC 29602

                                                         /s/ Charity S. Bird
                                                         Charity S. Bird, Trustee
